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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION

DREAM DEFENDERS, NEW FLORIDA
MAJORITY EDUCATION FUND,
ORGANIZE FLORIDA EDUCATION
FUND, ZEBRA COALITION, ACACIA
WILLIAMS, BIANCA MARIA BAEZ,                 Case No. 1:20-cv-67-RH-GRJ
MURRAY HELLER, PAULINA
HERNANDEZ MORALES, CELCIO                    Judge Robert L. Hinkle
EDUARDO ROMERO, and SHEILA
YOUNG,

     Plaintiffs,

            v.

RON DESANTIS, in his official capacity
as Governor of the State of Florida,
LAUREL M. LEE, in her official capacity
as Florida Secretary of State, and
FLORIDA ELECTIONS CANVASSING
COMMISSION, KIM
A. BARTON, in her official capacity as
Supervisor of Elections for ALACHUA
County, NITA CRAWFORD, in her
official capacity as Supervisor of
Elections for BAKER County, MARK
ANDERSEN, in his official capacity as
Supervisor of Elections for BAY
County, TERRY L. VAUGHAN, in his
official capacity as Supervisor of
Elections for BRADFORD County,
LORI SCOTT, in her official capacity
as Supervisor of Elections for
                                     1
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BREVARD County, PETER
ANTONACCI, in his official capacity
as Supervisor of Elections for
BROWARD County, SHARON
CHASON, in her official capacity as
Supervisor of Elections for CALHOUN
County, PAUL A. STAMOULIS, in his
official capacity as Supervisor of
Elections for CHARLOTTE County,
SUSAN A. GILL, in her official
capacity as Supervisor of Elections for
CITRUS County, CHRIS H.
CHAMBLESS, in his official capacity
as Supervisor of Elections for CLAY
County, JENNIFER J. EDWARDS, in
her official capacity as Supervisor of
Elections for COLLIER County,
ELIZABETH P. HORNE, in her
official capacity as Supervisor of
Elections for COLUMBIA County,
MARK F. NEGLEY, in his official
capacity as Supervisor of Elections for
DESOTO County, STARLET
CANNON, in her official capacity as
Supervisor of Elections for DIXIE
County, MIKE HOGAN, in his official
capacity as Supervisor of Elections for
DUVAL County, DAVID H.
STAFFORD, in his official capacity as
Supervisor of Elections for
ESCAMBIA County, KAITI
LENHART, in her official capacity as
Supervisor of Elections for FLAGLER
County, HEATHER RILEY, in her
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official capacity as Supervisor of
Elections for FRANKLIN County,
SHIRLEY G. KNIGHT, in her official
capacity as Supervisor of Elections for
GADSDEN County, CONNIE
SANCHEZ, in her official capacity as
Supervisor of Elections for
GILCHRIST County, ALETRIS
FARNAM, in her official capacity as
Supervisor of Elections for GLADES
County, JOHN HANLON, in his
official capacity as Supervisor of
Elections for GULF County, LAURA
HUTTO, in her official capacity as
Supervisor of Elections for
HAMILTON County, DIANE SMITH,
in her official capacity as Supervisor of
Elections for HARDEE County,
BRENDA HOOTS, in her official
capacity as Supervisor of Elections for
HENDRY County, SHIRLEY
ANDERSON, in her official capacity
as Supervisor of Elections for
HERNANDO County, PENNY OGG,
in her official capacity as Supervisor of
Elections for HIGHLANDS County,
CRAIG LATIMER, in his official
capacity as Supervisor of Elections for
HILLSBOROUGH County, THERISA
MEADOWS, in her official capacity as
Supervisor of Elections for HOLMES
County, LESLIE ROSSWAY SWAN,
in her official capacity as Supervisor of
Elections for INDIAN RIVER County,
                                            3
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SYLVIA D. STEPHENS, in her
official capacity as Supervisor of
Elections for JACKSON County,
MARTY BISHOP, in his official
capacity as Supervisor of Elections for
JEFFERSON County, TRAVIS HART,
in his official capacity as Supervisor of
Elections for LAFAYETTE County,
ALAN HAYS, in his official capacity
as Supervisor of Elections for LAKE
County, TOMMY DOYLE, in his
official capacity as Supervisor of
Elections for LEE County, MARK
EARLEY, in his official capacity as
Supervisor of Elections for LEON
County, TAMMY JONES, in her
official capacity as Supervisor of
Elections for LEVY County, GINA
MCDOWELL, in her official capacity
as Supervisor of Elections for
LIBERTY County, THOMAS
“TOMMY” R. HARDEE, in his
official capacity as Supervisor of
Elections for MADISON County,
MICHAEL BENNETT, in his official
capacity as Supervisor of Elections for
MANATEE County, WESLEY
WILCOX, in his official capacity as
Supervisor of Elections for MARION
County, VICKI DAVIS, in her official
capacity as Supervisor of Elections for
MARTIN County, CHRISTINA
WHITE, in her official capacity as


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Supervisor of Elections for MIAMI-
DADCounty, JOYCE GRIFFIN, in
her official capacity as Supervisor of
Elections for MONROE County,
VICKI P. CANNON, in her official
capacity as Supervisor of Elections for
NASSAU County, PAUL A. LUX, in
his official capacity as Supervisor of
Elections for OKALOOSA County,
DIANE HAGAN, in her official
capacity as Supervisor of Elections for
OKEECHOBEE County, BILL
COWLES, in his official capacity as
Supervisor of Elections for ORANGE
County, MARY JANE ARRINGTON,
in her official capacity as Supervisor of
Elections for OSCEOLA County,
WENDY SARTORY LINK, in her
official capacity as Supervisor of
Elections for PALM BEACH County,
BRIAN E. CORLEY, in his official
capacity as Supervisor of Elections for
PASCO County, DEBORAH CLARK,
in her official capacity as Supervisor of
Elections for PINELLAS County,
LORI EDWARDS, in her official
capacity as Supervisor of Elections for
POLK County, CHARLES
OVERTURF, in his official capacity as
Supervisor of Elections for PUTNAM
County, TAPPIE A. VILLANE, in her
official capacity as Supervisor of
Elections for SANTA ROSA County,
RON TURNER, in his official capacity
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as Supervisor of Elections for
SARASOTA County, CHRIS
ANDERSON, in his official capacity as
Supervisor of Elections for
SEMINOLE County, VICKY OAKES,
in her official capacity as Supervisor of
Elections for ST. JOHNS County,
GERTRUDE WALKER, in her official
capacity as Supervisor of Elections for
ST. LUCIE County, WILLIAM KEEN,
in his official capacity as Supervisor of
Elections for SUMTER County,
GLENDA B. WILLIAMS, in her
official capacity as Supervisor of
Elections for SUWANNEE County,
DANA SOUTHERLAND, in her
official capacity as Supervisor of
Elections for TAYLOR County,
DEBORAH K. OSBORNE, in her
official capacity as Supervisor of
Elections for UNION County, LISA
LEWIS, in her official capacity as
Supervisor of Elections for VOLUSIA
County, HENRY WELLS, in his
official capacity as Supervisor of
Elections for WAKULLA County,
BOBBY BEASLEY, in his official
capacity as Supervisor of Elections for
WALTON County, CAROL F. RUDD,
in her official capacity as Supervisor of
Elections for WASHINGTON County,
CANVASSING BOARD OF ALACHUA
COUNTY, CANVASSING BOARD OF
BAKER COUNTY, CANVASSING

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BOARD of BAY COUNTY,
CANVASSING BOARD of BRADFORD
COUNTY, CANVASSING BOARD of
BREVARD COUNTY, CANVASSING
BOARD of BROWARD COUNTY,
CANVASSING BOARD of CALHOUN
COUNTY, CANVASSING BOARD of
CHARLOTTE COUNTY,
CANVASSING BOARD of CITRUS
COUNTY, CANVASSING BOARD of
CLAY COUNTY, CANVASSING
BOARD of COLLIER COUNTY,
CANVASSING BOARD of COLUMBIA
COUNTY, CANVASSING BOARD of
DESOTO COUNTY, CANVASSING
BOARD of DIXIE COUNTY,
CANVASSING BOARD of DUVAL
COUNTY, CANVASSING BOARD of
ESCAMBIA COUNTY, CANVASSING
BOARD of FLAGLER COUNTY,
CANVASSING BOARD of FRANKLIN
COUNTY, CANVASSING BOARD of
GADSDEN COUNTY, CANVASSING
BOARD of GILCHRIST COUNTY,
CANVASSING BOARD of GLADES
COUNTY, CANVASSING BOARD of
GULF COUNTY, CANVASSING
BOARD of HAMILTON COUNTY,
CANVASSING BOARD of HARDEE
COUNTY, CANVASSING BOARD of
HENDRY COUNTY, CANVASSING
BOARD of HERNANDO COUNTY,
CANVASSING BOARD of
HIGHLANDS COUNTY,
CANVASSING BOARD of
HILLSBOROUGH COUNTY,
CANVASSING BOARD of HOLMES
COUNTY, CANVASSING BOARD of
INDIAN RIVER COUNTY,
CANVASSING BOARD of JACKSON
                                  7
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COUNTY, CANVASSING BOARD of
JEFFERSON COUNTY, CANVASSING
BOARD of LAFAYETTE COUNTY,
CANVASSING BOARD of LAKE
COUNTY, CANVASSING BOARD of
LEE COUNTY, CANVASSING BOARD
of LEON COUNTY, CANVASSING
BOARD of LEVY COUNTY,
CANVASSING BOARD of LIBERTY
COUNTY, CANVASSING BOARD of
MADISON COUNTY, CANVASSING
BOARD of MANATEE COUNTY,
CANVASSING BOARD of MARION
COUNTY, CANVASSING BOARD of
MARTIN COUNTY, CANVASSING
BOARD of MIAMI-DADE COUNTY,
CANVASSING BOARD of MONROE
COUNTY, CANVASSING BOARD of
NASSAU COUNTY, CANVASSING
BOARD of OKALOOSA COUNTY,
CANVASSING BOARD of
OKEECHOBEE COUNTY,
CANVASSING BOARD of ORANGE
COUNTY, CANVASSING BOARD of
OSCEOLA COUNTY, CANVASSING
BOARD of PALM BEACH COUNTY,
CANVASSING BOARD of PASCO
COUNTY, CANVASSING BOARD of
PINELLAS COUNTY, CANVASSING
BOARD of POLK COUNTY,
CANVASSING BOARD of PUTNAM
COUNTY, CANVASSING BOARD of
SANTA ROSA COUNTY,
CANVASSING BOARD of SARASOTA
COUNTY, CANVASSING BOARD of
SEMINOLE COUNTY, CANVASSING
BOARD of ST. JOHNS COUNTY,
CANVASSING BOARD of ST. LUCIE
COUNTY, CANVASSING BOARD of
SUMTER COUNTY, CANVASSING
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 BOARD of SUWANNEE COUNTY,
 CANVASSING BOARD of TAYLOR
 COUNTY, CANVASSING BOARD of
 UNION COUNTY, CANVASSING
 BOARD of VOLUSIA COUNTY,
 CANVASSING BOARD of WAKULLA
 COUNTY, CANVASSING BOARD of
 WALTON COUNTY, CANVASSING
 BOARD of WASHINGTON COUNTY,

       Defendants.



                      SECOND AMENDED COMPLAINT

      1.     The COVID-19 pandemic has upended every aspect of American life,

and in Florida, the pandemic threatens the very basis of our democratic system—free,

fair, and accessible elections, because Defendants Governor Ron DeSantis, Secretary

of State Laurel Lee, the Florida Elections Canvassing Commission, and Florida’s

County Supervisors of Elections have failed to take steps to protect every Floridian’s

right to vote. Public health officials project that the pandemic will continue to impact

our lives in the coming days, weeks, and months, restricting our movements and

ability to engage in “normal” activity. The COVID-19 crisis should not block voters

from casting ballots or force them to make choices between their health and

participating in the democratic process.

      2.     In the presidential preference primary (PPP) on March 17, 2020, many

Florida voters were denied any opportunity to cast a ballot as a result of Florida’s

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failure and refusal to take any action to ensure the right to vote, bringing turnout to a

historic low.

      3.        There are two more elections scheduled for 2020, neither of which will

be open, fair, secure, and accessible if Florida’s voting system is not adjusted to meet

the needs of this unprecedented emergency. Immediate action by the Governor, the

Secretary of State, and the Elections Canvassing Commission remove barriers to

registering and voting is necessary to ensure all eligible Floridians can exercise their

right to vote safely and without risk to the health and welfare of themselves, their

families, or their communities.

      4.        In light of social distancing requirements and the health risks resulting

from the COVID-19 pandemic, overly restrictive vote by mail processes, failure to

make accommodations for disabled voters, ballot submission deadlines, an anemic

online voter registration system, failure to provide vote by mail ballots and materials

in Spanish, unrealistic ballot curing timeframes, and a paucity of ballot delivery

mechanisms threaten the right to vote of countless Floridians. Defendants’ failure to

make any meaningful accommodation to mitigate these impacts of the COVID-19

crisis poses an undue burden on the right to vote in violation of the Constitution, the

Voting Rights Act, the Americans with Disabilities Act, and the Rehabilitation Act.

Without immediate action, marginalized and underserved voters will face severe and

uneven burdens casting a ballot by mail, if they are able to do so at all, and voters

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with disabilities and health conditions putting them at heightened risk from COVID-

19 will be denied the resources they depend upon to cast a secret ballot on their own.

To ensure that the right to vote is not compromised due to present public health crisis,

Defendants must act now to prepare for upcoming elections and address the needs of

vulnerable voters in this time of crisis.

      5.     Having already once observed the impact of the state’s refusal to

accommodate the enormous dangers COVID-19 has created for its residents on

Election Day, and because many Floridians, including Plaintiffs, their members, and

their communities, will be denied the right to vote or unable to access a ballot in the

upcoming elections, Plaintiffs bring this action to protect the fundamental right to

vote and to vindicate their rights under the Voting Rights Act, the Americans with

Disabilities Act, and the Rehabilitation Act.

                            JURISDICTION & VENUE

      6.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress

the deprivation under color of state law of rights secured by the United States

Constitution, § 2 and § 203 of the Voting Rights Act (“VRA”), 52 U.S.C.A. §§

10301, 10503, the Fourteenth and Fifteenth Amendments of the United States

Constitution, and under Title II of the Americans with Disabilities Act, 42 U.S.C. §§

12131, et seq., and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.




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       7.     This Court has original jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1343 because the matters in controversy arise

under the Constitution and laws of the United States. Plaintiffs bring this action to

redress the deprivation, under color of state law, of rights, privileges, and immunities

secured by the Constitution of the United States and federal law. Plaintiffs bring this

action to secure equitable relief under federal law providing for the protection of

voting rights, pursuant to 28 U.S.C. § 2202.

       8.     This Court has personal jurisdiction over Defendants, who are sued only

in their official capacity as officers of the State of Florida or its political subdivisions.

       9.     Venue is proper in this Court under 28 U.S.C. § 1391(b). Plaintiff

Williams resides in Gainesville, Plaintiff Dream Defenders has members in

Gainesville, and a substantial part of the events that gave rise to Plaintiffs’ claims

occurred in this judicial district.

       10.    This Court has the authority to enter a declaratory judgment and to

provide preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of

the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.




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                                       PARTIES

A.    Plaintiffs

      11.    Plaintiff DREAM DEFENDERS is a Florida non-profit organization

with its principal office in Miami-Dade County, Florida. 1 The organization was

established in 2012 following the killing of teenager Trayvon Martin and is led by

Black and Brown youth. Dream Defenders uses training and organizing of youth and

students to confront structural inequality. The organization conducts civic

engagement activities across the state of Florida, including voter registration and get

out the vote efforts. The membership of Dream Defenders includes college students

throughout the state of Florida who have been displaced from their schools due to the

coronavirus pandemic, some of whom were unable to vote in the PPP due to the

state’s failure to expand voting opportunities. Defendants’ failure to offer appropriate

and necessary accommodations in response to the pandemic is thwarting these

members’ ability to cast ballots and have them count in the 2020 election cycle, and

hindering the organization’s efforts to register Floridians to vote and help them vote,

and causing the organization to divert resources including staff time away from other

critical organizational activities, to secure the participation of registered Floridians in

upcoming elections.




1
 Dream Defenders is a fiscally sponsored project of Tides Advocacy, a California-
based non-profit.
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      12.    Plaintiff NEW FLORIDA MAJORITY EDUCATION FUND

(“NewFM”) is a Florida non-profit corporation and membership organization with

its principal office in Miami-Dade County, Florida. Founded in 2009, NewFM is

dedicated to organizing, educating, and mobilizing disempowered communities in

Florida to win equity and fairness throughout the State. NewFM's central focus is to

expand democracy by ensuring that every person eligible to vote, regardless of party

affiliation, can exercise his or her fundamental and constitutionally protected right to

vote. To achieve its goal, NewFM works with individual members and organizations

across the state of Florida engaged in civic and democratic endeavors to assist

underserved communities in voter registration, voter education and get out the vote

efforts. Defendants’ failure to take necessary steps to address the state of emergency

caused by coronavirus thwarts the organization’s efforts to increase voter

participation, harms its members who are registered voters in the state of Florida—

some of whom were unable to vote in the PPP—and who plan to vote in the upcoming

August 18, 2020 Primary Election or November 3, 2020 General Election, and is

causing the organization to divert resources including staff time to secure the

participation of Floridians in upcoming elections, away from voter registration, voter

education and get out the vote efforts.

      13.    Plaintiff   ORGANIZE         FLORIDA     EDUCATION         FUND      is   a

community-based, non-profit member organization with its principal offices in

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Orange County, Florida. Its membership consists of low- and moderate-income

people dedicated to the principles of social, racial, and economic justice and the

promotion of an equal and fair Florida for all. Organize Florida’s members

throughout the state of Florida bring communities together to join in the fight for safe

neighborhoods, healthy families, quality education, good jobs, justice, equality, and

a more representative democracy. Organize Florida’s major campaigns have included

supporting children and families and increasing Latinx voter turnout. The

organization is committed to exposing injustice and holding Florida’s leaders

accountable. The state’s failure to take necessary steps to accommodate impacted

voters in light of the coronavirus outbreak hinders the organization’s efforts to

increase participation among the communities it serves, harms its members who are

registered voters—some of whom were unable to vote in the PPP—and who plan to

vote in the upcoming August 18, 2020 Primary Election or November 3, 2020

General Election, and is causing the organization to divert resources including staff

time to secure the participation of Floridians in upcoming elections, away from voter

registration, voter education and get out the vote efforts.

      14.    Plaintiff ZEBRA COALITION is a community-based, nonprofit

organization based in Orlando, Florida. Its mission is to support and inspire LGBTQ+

youth by assisting young people facing homelessness, bullying, isolation from their

families, and physical, sexual and drug abuse with individualized programs to guide

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them to recovery and stability. The Zebra Coalition provides temporary housing to

young adults facing homelessness as well as access to a network of organizations

who provide essential services to LGBTQ+ youth such as mental health counseling,

assistance with obtaining identification documents and other legal document and

services, leadership training and support services. The Zebra Coalition seeks to

mobilize and engage the young people it serves though voter registration. The state’s

failure to take steps during the public health crisis necessary to prevent the

disenfranchisement of homeless and housing-insecure individuals and youth with

temporary living accommodations hinders the organization’s ability to engage the

individuals it serves in the political process, causing the organization to divert

resources including staff time to ensure they can participate in upcoming elections.

Zebra Coalition’s youth residents with health risks also are fearful of physical

contacts at government and other offices.

      15.    Plaintiff ACACIA WILLIAMS is a full-time student in her second year

at the University of Florida in Gainesville, Florida. Her family resides in Sullivan

County, New York. On or around March 13, 2020, Ms. Williams complied with a

directive from the University of Florida to leave her dorm and not to return to campus,

due to the coronavirus outbreak. Subsequently, the University announced that it will

maintain remote classes through its summer sessions, with students remaining away

from campus. Ms. Williams is currently at her parents’ home in Sullivan County,

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New York, and does not know when she will be permitted to return to the University

of Florida campus.

      16.    Plaintiff, BIANCA MARIA BAEZ is a registered voter in Leon County,

Florida who was unable to vote during the Presidential Preference Primary because

she was self-isolating after returning home from an international trip. Ms. Baez’s

preference is to vote in-person on election day. However, because of her concerns of

exposure to COVID-19, she plans to vote by mail in the upcoming elections. Ms.

Baez prefers to submit her ballot via curbside delivery as she is distrustful of her

ballot being delivered by the U.S. Postal Service in time to be counted.

      17.    Plaintiff MURRAY HELLER is an 86-year-old registered voter in

Delray Beach, Florida. Before the COVID-19 pandemic, he planned to vote in person

at his polling location in Florida’s March 17, 2020, Presidential Preference Primary.

Because of Governor DeSantis’s executive order banning gatherings and because of

Mr. Heller’s age, his pacemaker, and his history of cardiac conditions and the grave

health consequences for older voters with his health conditions like his of contracting

COVID-19, Mr. Heller could not vote at his assigned polling place. As a result of

Defendants’ failure to extend the vote by mail request deadline or make other

accommodations to allow vulnerable individuals like himself to vote safely, Mr.

Heller was totally denied an opportunity to cast a ballot in the PPP. As the pandemic

has spread, Mr. Heller’s fear of the serious health risks he faces from COVID-19 has

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only increased. Plaintiff Heller wants to vote in the upcoming August and November

2020 elections, but he fears he will again be unable to vote in person. Plaintiff Heller

would vote by mail using a ballot drop box if he could navigate the vote-by-mail

process without the need to expose himself to health risks, or in person using curbside

voting if it were made available to him.

      18.    Plaintiff PAULINA HERNANDEZ MORALES is an 85-year-old

naturalized U.S. Citizen and voter in Seminole County, Florida. Ms. Hernandez

Morales lives with stage 2 breast cancer and has high blood pressure. Ms. Hernandez

Morales has attempted to vote by mail in Florida in the past. Twice, most recently in

2018, after she sent her ballot to the SOE, it was not received in time to be counted.

Ms. Hernandez Morales has read that vote-by-mail ballots have frequently been

rejected in her community by Defendant Chris Anderson, Supervisor of Elections for

Seminole County and his predecessors. Because she does not trust the vote-by-mail

system due to her past experiences with attempting to vote-by-mail in the state, Ms.

Hernandez Morales had planned to vote in person on election day in the upcoming

elections. She wants the reassurance of seeing her ballot counted, and she requires

the assistance of a Spanish-language poll-worker or other person to make an informed

decision on Election Day. Ms. Hernandez-Morales is not able to vote in-person this

year because her health conditions and age place her in the high-risk category for

COVID-19. In the past, Ms. Hernandez has received Spanish-language assistance

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from friends, but with the COVID-19 pandemic, her friends are not able to assist her.

Ms. Hernandez is worried her ballot will again not be counted. Ms. Hernandez

Morales would be able to vote if she could access assistance, for example from

election officials, and had a way to be sure her vote-by-mail ballot would be counted,

such as an ability to track her mail ballot reliably and a meaningful opportunity to

cure any problems with her ballot. She would also be able to vote if Florida offered

curbside voting, which would allow her to access assistance to vote on election day

and ensure her vote is counted.

       19.    Plaintiff CELCIO EDUARDO ROMERO is a 76-year-old naturalized

U.S. citizen, and a resident of and voter in Orange County, Florida. Plaintiff

Romero’s dominant language is Spanish. Plaintiff Romero lives with multiple

sclerosis (MS), and suffered a stroke a few years ago. As a result, he has limited

mobility and has lost the ability to write. He can sign his initials with great difficulty,

but he can no longer sign his full name. He also lives with diabetes and high blood

pressure, heightening his vulnerability to COVID-19. Mr. Romero lives in a senior

residence, Magnolia Towers, that is connected to an assisted living facility and is near

his medical providers. Mr. Romero typically votes in person at his polling place but

cannot safely leave his residence and go inside a polling station during the COVID-

19 pandemic. Defendant Bill Cowles, Supervisor of Elections for Orange County,

and Defendant’s predecessors has never conducted supervised voting at Magnolia

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Towers or placed a polling place there. Plaintiff Romero would like to vote by mail

this year but cannot do so without assistance marking his vote-by-mail ballot or

technology that would allow him to do so independently. He is also concerned that,

because he cannot sign his name, his ballot is likely to be rejected.

      20.    Plaintiff SHEILA YOUNG is a resident of Orange County, Florida. She

is eligible and registered to vote. Plaintiff Young is blind. To vote, she uses assistive

technology available at her polling place that allows her to mark her ballot

independently and privately. Though she had concerns about appearing in person at

her polling place in the PPP, she did so because it was the only way she could cast

her ballot independently. As COVID-19 outbreak has spread, Ms. Young has become

even more concerned about voting at her polling place in the August and November

2020 elections and cannot do so without grave risk to her health. As a blind person,

she cannot see whether she is standing the necessary six feet away from others. She

cannot navigate a polling-place line in which voters must remain six feet apart or see

whether poll workers are properly disinfecting the accessible equipment between

voters.

      21.    Ms. Young would like to vote by mail but because she is blind, she

cannot mark a paper vote-by-mail ballot without assistance from another person. It is

important to her to be able to vote independently and privately. She does not want to

be forced to request someone else mark her paper vote-by-mail ballot because that

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would violate the secrecy of her ballot and her autonomy. She would use an electronic

ballot delivery option to mark her ballot at home if Florida officials, including but

not limited to Defendant Bill Cowles, Supervisor of Elections for Orange County,

and Defendant Laurel M. Lee, Florida Secretary of State, provided blind voters like

herself with that option. The need for postage to request and return her mail ballot

also poses an obstacle to Ms. Young. The U.S. Postal Service’s website does not offer

an accessible means of purchasing postage online, and social distancing concerns

prevent her from purchasing postage at the Post Office or other locations. Without an

accessible option to mark her mail ballot and with the other obstacles she faces voting

by mail, Plaintiff Young will not be able to cast an independent and private ballot in

the August and November 2020 elections.

      22.    Defendants’ refusal to make appropriate changes in voter registration

and election procedures to address the COVID-19 public health emergency will

frustrate organizational Plaintiffs’ respective missions and cause them to divert

resources by interfering with their members’ efforts to safely and effectively cast a

ballot in the upcoming August primary and November General Election. Individual

Plaintiffs will be unable to vote safely at their assigned polling places, and unless

vote-by-mail procedures are adjusted to address the current reality, they will be

unable to vote by mail as well.




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B.    Defendants

      23.    Defendant RON DESANTIS is sued in his official capacity as Governor

of the State of Florida. Defendant DeSantis is a person within the meaning of 42

U.S.C. § 1983 and acts under color of state law. As Governor of Florida, Defendant

DeSantis is the state’s chief executive officer and is responsible for the administration

of all state laws, including those pertaining to elections. Defendant DeSantis is also

a member of the Elections Canvassing Commission as established in Florida Statute

§ 102.111. As Governor of the State of Florida, Defendant DeSantis is vested with

emergency powers related to the suspension or delay of elections resulting from a

state emergency. Fla. Stat. § 101.733.

      24.    Defendant LAUREL M. LEE is sued in her official capacity as Florida

Secretary of State. Defendant Lee is a person within the meaning of 42 U.S.C. § 1983

and acts under color of state law. Pursuant to Florida Statute § 97.012, the Secretary

of State is the chief elections officer of the State and is responsible for the

administration of state laws affecting voting. Defendant has the authority to oversee

the administration of elections by Florida’s 67 county supervisors of elections.

      25.    Defendant ELECTIONS CANVASSING COMMISSION (together

with Defendants DeSantis and Lee, “State Defendants”) is sued as a state-created

entity. Its membership consists of the Governor and two members of the Cabinet

selected by the Governor, as set forth in Florida Statute § 102.111. Pursuant to Florida


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Statute § 101.698, the Elections Canvassing Commission is tasked with adopting

emergency rules to facilitate absentee voting during emergency situations.

      26.    Defendants KIM A. BARTON, Supervisor of Elections for

ALACHUA County, NITA CRAWFORD, Supervisor of Elections for BAKER

County, MARK ANDERSEN, Supervisor of Elections for BAY County, TERRY L.

VAUGHAN, Supervisor of Elections for BRADFORD County, LORI SCOTT,

Supervisor of Elections for BREVARD County, PETER ANTONACCI, Supervisor

of Elections for BROWARD County, SHARON CHASON, Supervisor of Elections

for CALHOUN County, PAUL A. STAMOULIS, Supervisor of Elections for

CHARLOTTE County, SUSAN A. GILL, Supervisor of Elections for CITRUS

County, CHRIS H. CHAMBLESS, Supervisor of Elections for CLAY County,

JENNIFER J. EDWARDS, Supervisor of Elections for COLLIER County,

ELIZABETH P. HORNE, Supervisor of Elections for COLUMBIA County, MARK

F. NEGLEY, Supervisor of Elections for DESOTO County, STARLET CANNON,

Supervisor of Elections for DIXIE County, MIKE HOGAN, Supervisor of Elections

for DUVAL County, DAVID H. STAFFORD, Supervisor of Elections for

ESCAMBIA County, KAITI LENHART, Supervisor of Elections for FLAGLER

County, HEATHER RILEY, Supervisor of Elections for FRANKLIN County,

SHIRLEY G. KNIGHT, Supervisor of Elections for GADSDEN County, CONNIE

SANCHEZ, Supervisor of Elections for GILCHRIST County, ALETRIS FARNAM,

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Supervisor of Elections for GLADES County, JOHN HANLON, Supervisor of

Elections for GULF County, LAURA HUTTO, Supervisor of Elections for

HAMILTON County, DIANE SMITH, Supervisor of Elections for HARDEE

County, BRENDA HOOTS, Supervisor of Elections for HENDRY County,

SHIRLEY ANDERSON, Supervisor of Elections for HERNANDO County, PENNY

OGG, Supervisor of Elections for HIGHLANDS County, CRAIG LATIMER,

Supervisor of Elections for HILLSBOROUGH County, THERISA MEADOWS,

Supervisor of Elections for HOLMES County, LESLIE ROSSWAY SWAN,

Supervisor of Elections for INDIAN RIVER County, SYLVIA D. STEPHENS,

Supervisor of Elections for JACKSON County, MARTY BISHOP, Supervisor of

Elections for JEFFERSON County, TRAVIS HART, Supervisor of Elections for

LAFAYETTE County, ALAN HAYS, Supervisor of Elections for LAKE County,

TOMMY DOYLE, Supervisor of Elections for LEE County, MARK EARLEY,

Supervisor of Elections for LEON County, TAMMY JONES, Supervisor of

Elections for LEVY County, GINA MCDOWELL, Supervisor of Elections for

LIBERTY County, THOMAS “TOMMY” R. HARDEE, Supervisor of Elections for

MADISON County, MICHAEL BENNETT, Supervisor of Elections for MANATEE

County, WESLEY WILCOX, Supervisor of Elections for MARION County, VICKI

DAVIS, Supervisor of Elections for MARTIN County, CHRISTINA WHITE,

Supervisor of Elections for MIAMI-DADE County, JOYCE GRIFFIN, Supervisor

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of Elections for MONROE County, VICKI P. CANNON, Supervisor of Elections for

NASSAU County, PAUL A. LUX, Supervisor of Elections for OKALOOSA

County, DIANE HAGAN, Supervisor of Elections for OKEECHOBEE County,

BILL COWLES, Supervisor of Elections for ORANGE County, MARY JANE

ARRINGTON, Supervisor of Elections for OSCEOLA County, WENDY

SARTORY LINK, Supervisor of Elections for PALM BEACH County, BRIAN E.

CORLEY, Supervisor of Elections for PASCO County, DEBORAH CLARK,

Supervisor of Elections for PINELLAS County, LORI EDWARDS, Supervisor of

Elections for POLK County, CHARLES OVERTURF, Supervisor of Elections for

PUTNAM County, TAPPIE A. VILLANE, Supervisor of Elections for SANTA

ROSA County, RON TURNER, Supervisor of Elections for SARASOTA County,

CHRIS ANDERSON, Supervisor of Elections for SEMINOLE County, VICKY

OAKES, Supervisor of Elections for ST. JOHNS County, GERTRUDE WALKER,

Supervisor of Elections for ST. LUCIE County, WILLIAM KEEN, Supervisor of

Elections for SUMTER County, GLENDA B. WILLIAMS, Supervisor of Elections

for SUWANNEE County, DANA SOUTHERLAND, Supervisor of Elections for

TAYLOR County, DEBORAH K. OSBORNE, Supervisor of Elections for UNION

County, LISA LEWIS, Supervisor of Elections for VOLUSIA County, HENRY

WELLS, Supervisor of Elections for WAKULLA County, BOBBY BEASLEY,

Supervisor of Elections for WALTON County, CAROL F. RUDD, Supervisor of

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Elections for WASHINGTON County, are all sued in their official capacities as

County      Election   Supervisors   for   their   respective   counties   (collectively,

“Supervisors” or “SOEs”). The Supervisors are persons within the meaning of 42

U.S.C. § 1983 and act under color of state law. The Supervisors are responsible for

the administration of Florida laws and regulations related to voter registration, vote

by mail, and the conduct of elections, including but not limited to: notifying

registrants of incomplete voter registrations, Fla. Stat. § 97.073; requesting ballots

that comply with a voter’s language preference, Fla. Stat. § 101.2515; establishing

the number and locations of secure ballot drop boxes, Fla. Stat. § 101.69(2);

providing VBM ballots to non-family members to deliver to voters, Fla. Stat. §

101.62(4)(c)(4); implementing the procedures for verifying signatures of and curing

defects in vote by mail ballots, Fla. Stat. §§ 101.68(1) & 101.68(4); determining the

hours and locations of early voting sites, Fla. Stat. § 101.657(d); ensuring the

accessibility of polling places in compliance with the Florida Americans with

Disabilities Accessibility Implementation Act, Fla. Stat. § 101.71(2); providing for

supervised voting for voters residing in assisted living facilities or nursing homes,

Fla. Stat. §101.655(1); and implementing emergency contingency plans for a

suspended or delayed election. Fla. Admin Code r. 1S-9.005.

      27.      Defendants CANVASSING BOARD of ALACHUA COUNTY,

CANVASSING BOARD of BAKER COUNTY, CANVASSING BOARD of BAY

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COUNTY, CANVASSING BOARD of BRADFORD COUNTY, CANVASSING

BOARD of BREVARD COUNTY, CANVASSING BOARD of BROWARD

COUNTY, CANVASSING BOARD of CALHOUN COUNTY, CANVASSING

BOARD of CHARLOTTE COUNTY, CANVASSING BOARD of CITRUS

COUNTY, CANVASSING BOARD of CLAY COUNTY, CANVASSING BOARD

of COLLIER COUNTY, CANVASSING BOARD of COLUMBIA COUNTY,

CANVASSING BOARD of DESOTO COUNTY, CANVASSING BOARD of

DIXIE COUNTY, CANVASSING BOARD of DUVAL COUNTY, CANVASSING

BOARD of ESCAMBIA COUNTY, CANVASSING BOARD of FLAGLER

COUNTY, CANVASSING BOARD of FRANKLIN COUNTY, CANVASSING

BOARD of GADSDEN COUNTY, CANVASSING BOARD of GILCHRIST

COUNTY, CANVASSING BOARD of GLADES COUNTY, CANVASSING

BOARD of GULF COUNTY, CANVASSING BOARD of HAMILTON COUNTY,

CANVASSING BOARD of HARDEE COUNTY, CANVASSING BOARD of

HENDRY COUNTY, CANVASSING BOARD of HERNANDO COUNTY,

CANVASSING BOARD of HIGHLANDS COUNTY, CANVASSING BOARD of

HILLSBOROUGH COUNTY, CANVASSING BOARD of HOLMES COUNTY,

CANVASSING BOARD of INDIAN RIVER COUNTY, CANVASSING BOARD

of JACKSON COUNTY, CANVASSING BOARD of JEFFERSON COUNTY,

CANVASSING BOARD of LAFAYETTE COUNTY, CANVASSING BOARD of

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LAKE COUNTY, CANVASSING BOARD of LEE COUNTY, CANVASSING

BOARD of LEON COUNTY, CANVASSING BOARD of LEVY COUNTY,

CANVASSING BOARD of LIBERTY COUNTY, CANVASSING BOARD of

MADISON COUNTY, CANVASSING BOARD of MANATEE COUNTY,

CANVASSING BOARD of MARION COUNTY, CANVASSING BOARD of

MARTIN COUNTY, CANVASSING BOARD of MIAMI-DADE COUNTY,

CANVASSING BOARD of MONROE COUNTY, CANVASSING BOARD of

NASSAU COUNTY, CANVASSING BOARD of OKALOOSA COUNTY,

CANVASSING BOARD of OKEECHOBEE COUNTY, CANVASSING BOARD

of ORANGE COUNTY, CANVASSING BOARD of OSCEOLA COUNTY,

CANVASSING BOARD of PALM BEACH COUNTY, CANVASSING BOARD

of PASCO COUNTY,       CANVASSING BOARD of PINELLAS COUNTY,

CANVASSING BOARD of POLK COUNTY, CANVASSING BOARD of

PUTNAM COUNTY, CANVASSING BOARD of SANTA ROSA COUNTY,

CANVASSING BOARD of SARASOTA COUNTY, CANVASSING BOARD of

SEMINOLE COUNTY, CANVASSING BOARD of ST. JOHNS COUNTY,

CANVASSING BOARD of ST. LUCIE COUNTY, CANVASSING BOARD of

SUMTER COUNTY, CANVASSING BOARD of SUWANNEE COUNTY,

CANVASSING BOARD of TAYLOR COUNTY, CANVASSING BOARD of

UNION   COUNTY,     CANVASSING       BOARD     of   VOLUSIA    COUNTY,

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CANVASSING BOARD of WAKULLA COUNTY, CANVASSING BOARD of

WALTON COUNTY, CANVASSING BOARD of WASHINGTON COUNTY are

sued as entities created pursuant to Fla. Stat. § 102.141 for each county in Florida,

whose membership consists of the county SOE, a county court judge and the chair of

the board of the county commissioners (collectively, “County Canvassing Boards,”

and, together with the Supervisors, the “County Defendants”).            The County

Canvassing Boards are responsible for canvassing VBM ballots, verifying the

signatures of VBM ballots, verifying the validity of signatures on cure affidavits, and

resolving challenges to the legality of VBM ballots. Fla. Stat. § 101.68.

                            STATEMENT OF FACTS

A.    The COVID-19 Pandemic

      28.    On December 1, 2019, the first confirmed COVID-19 patient began

experiencing symptoms in China’s Hubei province. 2 The novel coronavirus infection

rapidly spread to other countries. By January 21, 2020, the Centers for Disease

Control and Prevention (“CDC”) confirmed the first patient in the United States. 3 On




2
  Fernando Duarte, “Who Is ‘Patient Zero’ in the Coronavirus Outbreak,” BBC
(Feb. 23, 2020) (online at www.bbc.com/future/article/20200221-coronavirus-the-
harmful-hunt-for-covid-19s-patient-zero).
3
  Elizabeth Cohen, “First US Case of Wuhan Coronavirus Confirmed by CDC,”
CNN (Jan. 21, 2020) (online at www.cnn.com/2020/01/21/health/wuhan-
coronavirus-first-us-case-cdc-bn/index.html).
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March 11, 2020, the World Health Organization announced that COVID-19, the

disease that is causing the 2019 novel coronavirus outbreak had become a pandemic.

      29.   Scientists and public health officials do not yet fully understand

COVID-19, who will become mildly ill, who will get severely ill, and who will die. 4

People who have tested positive from the virus experience symptoms ranging from

very mild (including potentially a majority of people who experience no symptoms)

to severe. A significant percentage of those who contract COVID-19 die as a result

of the disease. 5 An early report from China suggested that in 16% of cases, people

with COVID-19 become seriously ill. 6

      30.   COVID-19 creates a significantly higher risk of serious illness or death

for individuals, such as Plaintiffs Romero, Hernandez Morales, and Heller, who have

underlying chronic health conditions, including heart disease, diabetes, and cancer

and persons with compromised immune systems including some of the individuals

served by the Zebra Coalition. One study found that, among patients diagnosed with

COVID-19, individuals who had one chronic condition were 1.8 times more likely

than those without a chronic condition to have a “poor outcome,” such as requiring a

ventilator or dying. That rate jumped to 2.6 times greater risk for individuals with

two chronic conditions. The Centers for Disease Control agrees that “people of any


4
  Ctrs. for Disease Control & Prevention, supra note 1.
5
  Ctrs. for Disease Control & Prevention, supra note 1.
6
  Id.
                                        30
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age with underlying health conditions, such as diabetes, lung disease, or heart disease,

are at greater risk of severe illness from COVID-19.” 7

      31.    Moreover, people of color are experiencing a higher rate of death due to

COVID-19. In New York City, African Americans and Latinx are dying at twice the

rates of whites. In Chicago, 70% of persons who died from the virus were African

American, which is more than twice their percentage in the city’s population.

According to the United States Census 2019 population estimates, African

Americans and Latinx represent 43% of Florida’s population. Many of these

communities are located in densely populated areas, where the virus tends to spread

very quickly.

      32.    The disease also creates a greater risk of serious health consequences

and death on older adults. This is especially true for people 65 years and older, such

as Plaintiffs Romero, Hernandez Morales, and Heller, and people who live in a

nursing home or long-term care facility. An early report by the CDC found that 80%

of deaths in the United States were among adults 65 years and older. Well over a

quarter of Florida’s voting age population is over the age of 65.

      33.    As of April 17, 2020, more than 600,000 Americans have contracted

COVID-19. Of that number, more than 40,000 people have died. The death toll in the


7
 Centers for Disease Control, “Know the facts about coronavirus disease 2019
(COVID-19) and help stop the spread of rumors” (March 12, 2020), available at
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/share-facts.html.
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U.S. has increased to around 2,000 a day. Florida currently has nearly 26,000

confirmed cases of patients with COVID-19. Over 750 of those people have died.

These numbers likely understate the extent of the outbreak: Because of a lack of

available testing, most people do not get a coronavirus test unless they experience

severe symptoms, meaning many people with mild or no symptoms may have had

COVID-19 without ever being tested. The rate of infection is continuing to rise in

Florida and will likely be exacerbated by the reality that thousands of people fled the

New York City region to Florida following that state’s issuance of a “shelter-in-

place” order. In addition, because of the lack of sufficient testing, it is difficult to

know who is an asymptomatic carrier of the virus who is passing it on to other

members of the community.

      34.    The high level of uncertainty surrounding the virus and the percentage

of people of color in the state of Florida highlights the importance of preparing for

elections before the virus has spread further and to allow for the full implementation

of free, fair, nondiscriminatory measures that will ensure the right to vote for all

eligible Floridians.

B.    Florida’s Failure to Take Adequate Precautions During the Presidential
      Preference Primary in Response to the COVID-19 Crisis

      35.    On March 1, 2020, Defendant DeSantis declared a public health

emergency in response to the COVID-19 crisis. Eight days later—just a week before



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Florida’s Presidential Preference Primary (“PPP”) on March 17, 2020, Defendant

DeSantis declared a statewide state of emergency.

      36.    On Friday, March 13, 2020, President Trump declared a national

emergency to begin mobilizing the extraordinary measures necessary to address the

rapidly expanding public health crisis. On Sunday, March 15, 2020, the Centers for

Disease Control and Prevention (“CDC”) issued guidance advising against

gatherings of 50 people or more for the next eight weeks and multiple states began

ordering the closure of restaurants and other establishments.

      37.    On Monday, March 16, 2020—the day before the PPP—the White

House issued new guidance for the public to avoid all social groupings of 10 or more.

      38.    Notwithstanding the Governor’s emergency declarations and the public

health advice from the federal government, Defendants made no accommodations for

the PPP to ensure Floridians could vote safely, without the need to gather in groups

at polling places.

      39.    On March 9, 2020, after the deadline for requesting a mail ballot,

Defendant Lee issued a press release encouraging Florida voters to vote by mail, but

she did not extend the request deadline or make any other accommodations to ensure

Florida voters could vote safely, without risk to their health and well-being.

      40.    On Friday, March 13, 2020, the same day President Trump began

mobilizing the nation to combat the coronavirus, Defendant Lee, released a joint

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statement with the chief election officials of Arizona, Illinois, and Ohio, confirming

that the scheduled PPP election would proceed on March 17, 2020, as scheduled.

      41.    Despite the emergent circumstances, however, no adjustments to

election procedures were made to allow voters unable to vote at their assigned polling

places to more easily obtain or return vote-by-mail ballots and be sure they would be

counted; no accommodations were made for voters whose age or underlying health

conditions made them especially susceptible to the harmful effects of the disease,

leaving them with the Hobson’s choice of giving up their right to vote or risking

exposure through interaction with poll workers and other voters at potentially

crowded polling places.

      42.    At the same time as Defendants were refusing to take action to make

vote-by-mail or other remote voting methods more available, voting in person at

polling places became much more difficult. In response to the COVID-19 outbreak,

Defendant Supervisors closed, moved or consolidated at least 112 polling places in

22 counties, including many at assisted living facilities whose residents are at more

acute risk than the general population. Eight hundred poll workers withdrew from

participating in the election in Palm Beach County due to concerns about the

pandemic, as did many others throughout the state. Subsequent to the election, at least

two poll-workers tested positive for the virus.




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      43.    Because of the Defendants’ failure to make appropriate and necessary

accommodations during the PPP, students from across the state, including Plaintiff

Williams, and others who were displaced due to school closures, had their right to

vote denied. Elderly, ill, and immunocompromised individuals, such as Plaintiff

Heller, and individuals who were self-quarantining in accordance with public health

guidance, such as Plaintiff Baez—faced with a choice between sitting out the election

and compromising their and their families’ and communities’ health and well-

being—did not go out to the polls.

      44.    The result was a dramatic reduction in turnout. Turnout among voters

registered to either of the major political parties—those permitted to participate in

those parties’ primaries under Florida’s closed primary system—was about 30

percent, as compared to 46 percent in the 2016 Presidential Preference Primary, and

41 percent in 2012, the last primary in which an incumbent president ran largely

uncontested in his party’s primary.

      45.    Despite the low turnout and despite the fact that the vote-by-mail

deadline had already passed by the time state and federal officials began imposing

restrictions on public gatherings and recommending that vulnerable individuals stay

home, the number of ballots cast by mail reached record levels, threatening to

overwhelm Supervisors of Elections, many of whom do not have the personal or

infrastructure to handle the increased volume.

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C.      COVID-19’s Continued Impact in Florida

        46.    At the time of the PPP, there were approximately 140 confirmed cases

of COVID-19 in Florida and 4 people had died from the virus in the state. Since that

time, COVID-19 has spread rapidly in the state, to nearly 26,000 cases and over 750

deaths. As of today, infection rates are continuing to rise.

        47.    In response to the virus’s spread Governor DeSantis has taken steps to

contain the virus, but Defendants still have done nothing to mitigate the impact of the

outbreak on Floridians’ ability to vote in the upcoming Congressional Primary on

August 18, 2020, and the Presidential Election on November 3, 2020.

        48.    On April 1, 2020, Governor DeSantis signed Executive Order 20-91

which outlined the state’s stay-at-home policy. The Order took effect April 3 and will

last until at least April 30th. Executive Order 20-91 requires “[s]enior citizens and

individuals with a significant underlying medical condition (such as chronic lung

disease, moderate-to-severe asthma, serious heart conditions, immunocompromised

status, cancer, diabetes, severe obesity, renal failure and liver disease)” to “stay at

home and take all measures to limit the risk of exposure to COVID-19.” 8 The order




8
    Fla. Exec. Order No. 20-91 (Apr. 1, 2020).
                                          36
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also requires local jurisdictions to “ensure that groups of people greater than ten are

not permitted to congregate in any public space.” 9

      49.    Public health experts report that the nation’s current ability to test for

the virus is woefully insufficient to allow for easing these restrictions any time soon

without risking a second wave of infections. And they say that even if the virus

subsides with the warmer summer weather, a recurrence of COVID-19 in the fall is

“likely.” In such an event, voters in November’s Presidential General Election could

face the same rapidly changing circumstances that resulted in disruption and

disenfranchisement in the Presidential Preference Primary.

      50.    But, despite ordering them to stay at home, Governor DeSantis has taken

no steps to make it possible for vulnerable Floridians to vote at home. Nor has he or

any of the other Defendants explained how proceeding to hold elections according to

business as usual—with voting and voter registration taking place at early voting

sites, precinct polling places, and SOE offices—can be done without violating

restrictions on gatherings of 10 or more Floridians in public places—restrictions

which are necessary, and will remain necessary for the foreseeable future, to maintain

public health and prevent further spread of and additional deaths from COVID-19.



9
  Id.; The federal government has also urged Americans to adhere to and expand
community mitigation efforts. Across the United States, about 316 million people
in at least 42 states the District of Columbia and Puerto Rico have been ordered not
to leave their homes for work, school, or for any non-emergency reason.
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D.    Voter Registration Has Come to a Near Standstill in Florida.

      51.    Florida SOEs are reporting only a trickle of voter registrations coming

through mail and online.

      52.    Individuals are currently unable to easily obtain paper applications as

state offices across Florida that normally offer hard-copy voter registration forms or

in-person voter registration services are closed or inaccessible. Public libraries, SOE

offices managed by each of the Defendant SOEs, the Department of Highway Safety

and Motor Vehicles (“DHSMV”), and other public agencies designated under the

National Voter Registration Act (“NVRA”), are all closed or operating at severely

reduced capacity in accordance with orders and guidance issued by Defendants, but

Defendants have taken no steps to ameliorate the devastating impact these closures

have had on the availability of voter registration services.

      53.    Many individuals are also unable to obtain a paper application through

other means. Though the application is available online, low income voters, including

many in communities of color, lack internet access or a printer at home. Many rely

on community resources such as the public library for access to the internet and for

printing. With the COVID-19 crisis, those resources are not available. Although retail

printing services might normally make it possible to print a downloaded voter

registration application, most such services, not being designated essential, are

currently closed, and even if these service were available, voters with heightened


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COVID-19 vulnerabilities would have to risk their health in order to avail themselves

of them. Without access to the internet or a printer, using the online voter registration

form is out of reach for many voters.

      54.    Moreover, paper applications are not postage pre-paid, and in an era of

email and automatic online bill paying, many people no longer keep stamps at home.

And with some post offices closed and with social distancing orders in place, the

simple act of buying a stamp to mail a voter registration form has become a challenge

for many.

      55.    Third-party voter registration efforts, normally a robust source of voter

registration services in Florida, have almost entirely ceased. Unable to field their

volunteers for door-to-door campaigns or large-scale voter registration events due to

the pandemic, organizations such as Plaintiffs NewFM, Organize Florida, and Dream

Defenders have been forced to halt their voter registration efforts. Since March 13,

2020, Organize Florida has pulled its approximately 70 canvassers from in-person

registration efforts in 9 Florida counties and diverted them to COVID-19 community

response. Similarly, starting March 20, 2020, NewFM diverted its 200+ canvassers

from in-person registration in 6 Florida counties and moved them to phone calls for

wellness checks.




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E.    Florida’s Online Voter Registration System Is Unduly Burdensome,
      Particularly for Communities of Color

      56.    With limited access to paper and downloadable voter registration forms

of limited utility for many voters during the COVID-19 pandemic, Florida’s online

voter registration (“OVR”) system is currently one of few accessible means for voters

to register. OVR’s numerous restrictions and limitations, however, prevent it from

being a viable option for many Florida residents and make running third-party voter

registration drives much more labor intensive and less effective.

      57.    To complete a voter registration through the OVR system, the would-be

voter must have a driver’s license or identification card issued by DHSMV. The

driver’s license or identification card number is used both to verify the voter’s

identity and to obtain the voter’s signature. Those that do not have a driver’s license

or identification card, including many of those served by Zebra Coalition, cannot

complete registration process through the OVR system. Instead, the system will

produce an electronic voter registration form, which the voter must print, sign, and

mail to the county SOE or Secretary of State. Because homeless and housing insecure

voters and voters of color are less likely to have identification issued by the DHSMV,

they are more likely to encounter this obstacle with online registration.

      58.    For the reasons described above, many voters, especially those who lack

stable housing and those in low income communities, are simply unable to print and

mail a voter registration application from the OVR system.

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      59.    Even when a voter has a valid DHSMV credential, the OVR system

makes it difficult or impossible for voters to detect and correct errors in their

applications. Voters who register using a paper form are notified if their application

is incomplete or if errors are found, and they are provided an opportunity to make

corrections. When the OVR system identifies an error, the voter is not notified.

Instead, the OVR system switches to producing the same printable, mailable

registration application it produces for those who lack the required identification. For

example, if a voter mistypes her birthdate, the OVR system will refuse to complete

the application online but will not notify the voter of the reason. If the voter is able

to print and mail or hand-deliver the application—and for the reasons explained

above, many cannot—the error will eventually be identified when one of the

Defendant SOEs process the form, and only then will the voter possibly have an

opportunity to correct it.

      60.    In addition, the OVR system regularly experiences technical

breakdowns which cause it to stop functioning and go offline for several hours and

as much as an entire day. As recently as March 30, 2020, the OVR system reportedly

experienced “intermittent issues” that prevented many Floridians from registering,

and in 2018, the system crashed under the weight of increased voter registration

activity just before the October registration deadline for the 2018 mid-term election.

During the coronavirus pandemic, unlike 2018, when OVR goes offline, potential

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voters are left with no means of registering to vote at all, and voters frustrated in their

attempts to register through the system often do not return for another try.

       61.    These limitations on OVR pose significant obstacles for the voter

registration efforts of Plaintiffs NewFM, Organize Florida, Zebra Coalition, and

Dream Defenders. When these organizations are able to resume their registration

efforts, they will be limited to simply assisting with online registration.

       62.    Organize Florida plans to direct individuals to its website, which will

connect to the state’s OVR system. But because many voters will be unable to

complete the registration process online, Organize Florida will utilize a new “chase”

system to ensure that people are actually successful in completing their registration.

The “chase” program will involve organizers checking the voter registration system

to see if the individuals they register make it onto the rolls, calling the individuals

who do not register successfully, asking a series of questions to figure out what was

wrong with the person’s registration application, and then helping the person correct

their application and submit it again. Moreover, the larger number of voters Organize

Florida and other organizations will be directing to OVR will increase demands on

the system, and may lead to more frequent breakdowns, further hindering the

organization’s voter registration efforts.

       63.    Adding this process to Organize Florida’s work will create additional

demands on its time and resources. The chase process will also result in the

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organization processing significantly fewer voter registration applications than in

previous years. With normal canvassing, Organize Florida processes approximately

2 to 2.5 applications every hour and over 3,000 applications on average each month.

Without the ability to conduct in-person registration and with the need to follow up

with every voter to ensure they become registered because of the limitations of OVR,

Organize Florida will be able to reach far fewer voters this year.

      64.    Similarly, NewFM normally processes 3,000-5,000 voter registration

forms per month. Significantly, fewer people will be able to register through the

online system because they lack a Florida driver’s license, so NewFM will likewise

implement a “chase” program to ensure that people unable to complete their

registrations through OVR actually make it onto the voter rolls. NewFM plans to

dedicate over a quarter of its canvassers to conducting the “chase” program as a

means of ensuring OVR works for its members, diverting canvassers who would

normally be out registering additional voters in the communities NewFM serves.

F.    Florida’s Limits on Voting by Mail Unduly Burden the Right to Vote.

      65.    At a time when many voters are confined to their homes or to shelters

due to stay-at-home orders and vulnerability to severe health consequences from

COVID-19, stringent limitations and restrictions on voting by mail—and

Defendant’s failure to alleviate them—are unwarranted and will deprive many




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Floridians, including individual Plaintiffs and members of organizational Plaintiffs,

of their fundamental right to vote.

      66.     Moreover, even when the rules don’t prevent them from voting by mail,

voters of color and young voters face disproportionate rates of rejection of their VBM

ballots in Florida. A recent study of mail ballot rejection rates in Florida during the

2018 General Election found that African American and Latinx voters were more

than twice as likely as White voters to have their ballots rejected. Voters in the 18-21

age bracket were nearly 5 times as likely to have their ballots rejected as voters in the

45-64 age bracket. Military and overseas voters also faced higher than average

rejection rates. With more voters dependent on voting by mail as a means of reducing

the risks of contracting COVID-19, Defendants’ failure to make changes to mail

ballot procedures to address these disparities will result in widespread

disenfranchisement among voters who are already under-represented in the

electorate.

      67.     A Florida voter can request a vote-by-mail (“VBM”) ballot in person at

a Defendant SOEs’ office, by telephone or mail, or by applying online through a

Defendant SOEs’ website. A voter may also designate certain close family members

or a legal guardian to request a VBM ballot on the voter’s behalf.

      68.     To have a ballot sent to an address other than the address where the voter

is registered, the request must be in writing and must be signed by the voter.

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Telephonic or online requests and requests signed only by a family member are not

permitted.

      69.      Voters displaced from their homes due to the coronavirus pandemic,

such as Plaintiff Williams and many members of organizational Plaintiffs, cannot

receive a ballot at the address where they are registered. To request a ballot, such

voters must either travel to a Defendant SOEs’ office to apply for a VBM ballot in

person, in violation of stay-at-home orders, or must submit their VBM ballot requests

by mail, which necessitates that they have a printer to print the application and that

they pay postage. Plaintiff Williams and many other Floridians, including college and

university students whose campuses have shut down, have been forced to leave the

state and are therefore unable to request a VBM ballot in person, leaving mail as their

only option.

      70.      Florida makes an exception to the signature requirement for uniformed

and overseas voters, who may receive a mail ballot at an alternate address without a

signed, written request. Most of those who have been displaced by the COVID-19

crisis do not qualify for this exception.

      71.      Vote by mail ballots are generally delivered by non-forwardable, return-

if-undeliverable mail to the address on file with a Defendant SOE or to the address

in the signed VBM request. Voters may also request to pick up their VBM ballots in

person at the SOE’s office, which they can do starting nine days before the election.

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Uniformed service-members and overseas voters have additional options for delivery

of their VBM ballots not available to other VBM voters: They may request that their

VBM ballot be delivered by email or fax.

      72.    To be timely, VBM ballot requests must be received by a Defendant

SOE no later than 10 days before the election. Florida offers a limited ability for

voters to request a mail ballot after the deadline in emergency circumstances, but in

the context of the COVID-19 crisis, it is insufficient to prevent the

disenfranchisement of Florida voters, especially without adjustments to many of

Florida’s other restrictions on voting by mail. If emergency circumstances arise after

the deadline that will prevent the voter from voting at her assigned polling place,

Florida allows an application for a vote by mail ballot to be made in person at a

Defendant SOE’s office, but only on election day. To receive a VBM ballot, the voter

must complete a VBM ballot request form and, separately, an affidavit explaining the

emergency circumstances preventing the voter from voting at the polls. In some

counties, including Miami-Dade County, Defendant SOEs require voters to provide

additional documentation of the emergency, such as a doctor’s note, to obtain an

emergency VBM ballot.

      73.    During the PPP, voters with underlying health conditions or whose age

made them particularly vulnerable to COVID-19 were unable to avail themselves of

an exception that required an in-person visit to a Defendant SOEs’ office. The very

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emergency that prevented them from voting at their assigned polling place also

prevented them from going to a Defendant SOEs’ office to obtain and then return a

mail ballot. Moreover, requiring each voter to execute an affidavit documenting an

emergency that was declared by public health officials and affects everyone in the

state will lead to longer times for completing the VBM request process—at a time

when people are being advised to avoid all but necessary trips away from their

homes—and presents an unnecessary burden on vulnerable voters. Additional

requirements, such as a doctor’s note, are even more unnecessary and, at a time when

healthcare providers are already overburdened and healthy people are being asked to

refrain from non-essential procedures, particularly ill-advised.

      74.    Voters can designate another person to obtain their emergency VBM

ballot on election day. In that case, the voter must complete and sign a designation

form appointing the designee, as well as the emergency ballot affidavit. The designee

must also complete and sign an affidavit affirming that they are authorized to pick up

the VBM ballot for a specified voter.

      75.    Designees are limited to obtaining ballots for up to two non-family-

members. Some counties impose even tighter restrictions. For example, in Miami-

Dade County, Defendant Christina White permits a designee to obtain ballots for only

two other voters, even if they are family members, and may only obtain one ballot

for a non-family member. Not all voters have family members or others nearby who

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can retrieve their ballot for them, and at this time of pandemic, many are unwilling

to put others at risk. In addition, as a result of this rule, institutions such as churches,

as well as organizational Plaintiffs, which in normal circumstances provide assistance

to voters to help them get to the polls and vote, are unable to effectively get out the

vote among their members and constituents. Moreover, limiting the number of ballots

any one person can pick up means more people will be going to Defendant SOEs’

offices to obtain ballots for vulnerable voters, in violation of public health

recommendations.

       76.    During a situation where circumstances are changing as rapidly as they

have during the COVID-19 pandemic, limiting emergency ballot requests to election

day, limiting the number of ballots third parties can pick up for vulnerable voters, and

mandating     unnecessary     and    duplicative documentation        requirements,     are

unreasonable and unjustified burdens on the right to vote, and will present a nearly

insurmountable barrier to many voters, as it did for Plaintiffs and their members

during the Presidential Preference Primary. Given the likelihood of a resurgence of

COVID-19 in the fall, according to public health officials, Florida’s stringent

emergency VMB request procedure will very likely again lead to the

disenfranchisement of thousands of Floridians.

       77.    To be counted, a VBM ballot must be received at a Defendant SOEs’

office by 7 p.m. on Election Day. This means voters wishing to return their ballots

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by mail must calculate how long it will take the Postal Service to deliver the ballot

and mail early enough that it will be delivered by election day. Except for envelopes

designated for military and overseas voters, mail ballot return envelopes are, in most

Florida counties, not postage pre-paid, necessitating that the voter obtain postage. In

some cases, mail ballot envelopes need additional postage beyond standard first-class

mail postage. In at least one county, the amount of postage required depends on

whether the voter has accurately followed the instructions on how to fold the return

envelope.

      78.    Voters may also return their ballots in person at a Defendant SOEs’

office or drop off the VBM ballot at a designated secure drop box for early voting

sites in the elector’s county. Drop boxes are generally located only at early voting

sites during the early voting period and at a Defendant SOEs’ office. On election day,

the only drop box is typically located at a Defendant SOEs’ office.

      79.    Military and overseas citizens have options for returning their ballots

that are not available to other voters. In addition to the return methods available to all

voters, these voters can return their VBM ballots by mail or fax to the county

Supervisor of Elections or to a fax number provided by the Federal Voting Assistance

Program of the Department of Defense. Florida also grants military and overseas

voters additional time for the return of their ballots: VBM ballots cast by these voters




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are counted as long as they are postmarked or dated by Election Day and received

within 10 days after the election.

      80.    The state’s process for curing signature-match issues will disenfranchise

voters. To be counted, the VBM ballot envelope must be signed by the voter and the

signature must match the voter’s signature in the registration books. If the signature

is missing or if a Defendant SOE or the county canvassing board determines that a

voter’s signature does not match the signature in the registration books, the a

Defendant SOEs are required to notify the voter of the signature deficiency, but in

many instances, they fail to do so. Canvassing board members and SOE staff

responsible for verifying signatures are not required to undergo any training in

handwriting analysis or signature verification.

      81.    The voter is given the opportunity to “cure” the deficiency by

completing and submitting to a Defendant SOE a “cure affidavit” and any of several

specified forms of identification. If the voter’s signature on the cure affidavit matches

the signature on the absentee ballot but not the signature on the voter roll, the ballot

will still be rejected unless the voter has provided one of a narrower set of

identification documents that bear the voter’s photograph. Defendant SOEs do not

explain this more stringent identification requirement in the statutorily prescribed

cure instructions, however. In addition, the cure notice is not required to include the




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cure instructions or affidavit. Rather, it only refers the voter to the instructions on the

Defendant SOEs’ website.

      82.    The cure affidavit may be submitted in-person or by mail, fax or email,

and must be received by a Defendant SOE by 5 p.m. on the 2nd day after the election.

The cure affidavit is not postage prepaid. To avoid having to deliver the affidavit in

person, however, the voter must have internet access at home and a printer to print

the affidavit, a scanner, copier, or smart phone to make a copy of the required

identification document, and a postage stamp. Moreover, as a practical matter, unless

the voter is notified of the problem before election day, submitting the affidavit by

mail risks that it will not arrive in time. To avoid that risk, the voter would also need

access to email or a fax machine.

       83.    Not surprisingly, Florida’s vote by mail procedures disproportionately

exclude African American and Latinx voters and young voters, among other groups.

The very short “cure” period—spanning the two weekdays following an election—

and the requirement that the cure affidavit be delivered during business hours poses

an obstacle to many working people. Studies show that young voters are more likely

to have variations in their signatures, making them more likely to have their ballots

rejected.

       84.    Throughout Florida, many homes in rural areas do not have addresses

or have “non-traditional addresses” that do not use a street name. The postal service

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does not deliver to these addresses, so voters in these areas cannot receive ballots at

their homes. Likewise, homeless and housing unstable voters, including many of

those served by Zebra Coalition, cannot receive mail where they live.

      85.    Voters who lack home mail delivery may request that their VBM ballot

be sent to a P.O. Box or homeless shelter rather than their place of residence, ruling

out telephonic and online VBM requests because of Florida’s signature requirement.

In addition, rural post offices can be remarkably far and run limited hours. P.O. Boxes

cost money and require valid identification to open an account. Sometimes there are

not enough boxes to service a community, so friends and families share them,

increasing the likelihood of lost ballots and missed rejection notifications, problems

also faced by those who receive mail at group quarters such as shelters. Moreover,

rural mail is often delayed due to complicated mail routing, increasing the likelihood

of missed deadlines.

      86.    Many disabled voters, such as Plaintiffs Young, are entirely excluded

from using vote by mail unless they are willing to compromise the secrecy of their

ballots—a choice other voters do not have to make.

G.    Voters with Disabilities Face Unnecessary Obstacles to Exercising Their
      Right to Vote on an Equal Footing with Other Voters During the
      COVID19 crisis.

      87.    About one in six voting-age Americans live with a disability, and voters

who are blind, low vision, or have another print disability or live with physical,


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intellectual or developmental disabilities require in-person accommodations at

polling places or other voting sites to vote privately and independently. For example,

voters who are blind, low vision, or have another print disability need access to

accessible voting equipment, including audio ballots or touch screens with enlarged

text. Voters with manual impairments making it difficult to hand-mark a paper ballot

also require assistive technologies to vote independently and privately. In Florida,

however, electronic assistance mechanisms, such as Ballot Marking Devices, are

exclusively available at in-person voting locations.

      88.    During the COVID-19 pandemic voters with disabilities face an

unreasonable risk of contracting COVID-19 at the polls or on their way to polling

locations. The accessible machines depend on touch screens or other manual input

devices and, in some cases, headphones. This equipment and seating to use it may

carry the COVID-19 virus from previous users and poll workers. Visual markers on

the ground instructing voters to line up six feet apart from each other and poll workers

are not accessible to blind and limited vision voters. Disabled voters who cannot drive

face reduced service from paratransit and commercial ride-share vehicles the need to

share a vehicle with drivers and other passengers, potentially exposing voters to the

COVID-19 virus.

      89.    Voters with disabilities who are unable to vote in a precinct polling

location or early voting site have few alternative voting options and some are

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completely deprived of any alternative voting methods. Florida does not offer

curbside voting to voters whose disabilities prevent them from going into an in-

person voting location. And many voters with disabilities are unable to avail

themselves of the option of voting by mail.

      90.    Although Florida law specifically requires the Defendant Secretary of

State and Defendant SOEs to “develop and implement procedures and technologies

... for providing vote-by-mail ballots, upon request, in alternative formats that will

allow all voters to cast a secret, independent, and verifiable vote-by-mail ballot

without the assistance of another person,” on information and belief, no Florida

county currently provides mail ballots in such alternative formats. Overseas and

uniformed services voters have electronic ballot delivery options, but those options

are not accessible to voters with visual impairments and in any event are not available

to voters who want to vote from home in Florida. The result is that voters who cannot

use a standard paper ballot without assistance, such as low vision voters, cannot vote

by mail without compromising their independence and the secrecy of their ballots.

      91.    Voters with disabilities are also more likely to have their signatures

change over time and to have their ballots rejected based on a signature mismatch.

For example, Plaintiff Romero, who suffers from MS and a stroke, can no longer sign

his name at all.




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H.    Language-Minority Voters Should Not be Forced to Compromise their
      Health in Order to Make an Informed Vote

      92.    According to the U.S. Department of Justice, Civil Rights Division,

approximately 2,107,585 Floridians are limited English proficient.

      93.    After the 2010 census, the Director of the Census designated the entire

state of Florida as subject to the requirements of Section 203 of the Voting Rights

Act for Spanish. The Census coverage determination is final and non-reviewable

therefore Florida is mandated to provide statewide issued/produced voter

registration-voting materials in Spanish. Because Florida is subject to the

requirements of Section 203, “any statewide registration or voting notices, forms,

instructions, assistance, or other materials or information relating to the electoral

process” that Defendants provide in English must also be furnished in Spanish.

      94.    Although the Division of Elections’ website provides a Google translate

option to provide the information contained on the web pages in Spanish-language,

the very first bullet point, under instructions directing a voter on how to request a

vote-by-mail ballot, instructs the user to their respective Supervisor of Elections

website. Clicking on that link leads the user to a Florida Department of State,

Division of Elections administered landing page which contains English-only

information with no translation or Spanish-language version option available.

      95.    The voter must then click on their respective Supervisor of Elections

website on this English-only page which navigates the user to a SOE administered

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webpage which may only be available in English. Although the statewide issued

forms to request a VBM ballot, designee form and how to cure a signature mismatch

are translated to Spanish and are available on the Division of Elections website, the

Spanish-language version of the forms may not be accessible to a Spanish-language

dominant voter via their respective Supervisor of Elections website, if none of the

webpages are translated to Spanish. Based on information and belief, neither the

Union County or Liberty County websites contain any information or link to the

Spanish version of the VBM related documents.

      96.    Based on information and belief, there are additional Florida counties

who provide English only VBM ballots, instructions and related materials and do not

offer Spanish-language assistance to help voters who are unable to speak English.

This results in unequal treatment of limited English proficient voters and a violation

of Section 203. Compliance with the law on behalf of these voters is made exigent

by COVID-19

      97.    The same obstacles present to disabled voters, affect Spanish-language

dominant voters who are unable to vote in-person because of COVID-19 related

health risks. Although there are currently 13 Florida counties subject to Section 203

coverage which are required to provide Spanish-language materials and assistance at

the polling locations, these same services will not be available to voters who are




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unable to avail themselves to vote in-person because of COVID-19 related health

risks, such as Plaintiffs Romero and Hernandez Morales.

I.    Supervised Voting at Group Quarters Facilities for Elderly and Other
      Vulnerable Floridians Is Insufficiently Available.

      98.    Under Florida law, SOEs may, on their own initiative or at the request

of a facility administrator, offer supervised voting at an assisted living facility or

nursing home. Under this system, two poll workers take voting equipment to the

facility to allow residents to vote without having to leave the facility.

      99.    Voters living in independent living facilities or other group quarters are

not eligible for supervised voting under existing rules. In the current health crisis,

however, residents of these facilities, many of which are designed for and restricted

to elderly residents or others with specific health care needs, face significant health

risks if they are required to vote in person at precinct polling places and many face

obstacles to voting by mail.

                               CLAIMS FOR RELIEF

                                 COUNT ONE
                             Against All Defendants
                 Undue Burden on the Right to Vote in Violation
                         of the Fourteenth Amendment
                  (U.S. Const. Amend. XIV, 42 U.S.C. § 1983)

      100. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.



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      101. This Court has the authority to enter a declaratory judgment and to

provide preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of

the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

      102. Under the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment, a court considering a challenge to a state election law “must

weigh ‘the character and magnitude of the asserted injury to the rights protected by

the First and Fourteenth Amendments that the plaintiff seeks to vindicate’ against

‘the precise interests put forward by the State as justifications for the burden imposed

by its rule,’ taking into consideration ‘the extent to which those interests make it

necessary to burden the plaintiff’s rights.’” Burdick v. Takushi, 504 U.S. 428, 434

(1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)).

      103. Unless Plaintiffs are granted the relief requested, the right to vote of

thousands of Floridians, including the Individual Plaintiffs and Organizational

Plaintiffs’ members and constituents, will be severely burdened (if not eliminated

entirely) in the Primary Election on August 18, 2020, and the General Election on

November 3, 2020.

      104. Because of the crisis created by COVID-19, many Floridians, including

Plaintiffs Heller, Hernandez Morales, Romero, Baez, and Young, are confined to

their homes, and because of the uncertainty over when the crisis will have abated

sufficiently to lift the stay-at-home restrictions or whether a fall resurgence of

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COVID-19 will require re-imposing them, these Floridians face a significant

likelihood that they will be unable to vote in-person at their precinct polling locations

or unwilling to do so in the face of significant risks to their health.

       105. For vulnerable individuals, including Plaintiffs Romero, Hernandez

Morales, Heller, and the at-risk youth served by Zebra Coalition, appearing in person

at either the Supervisor of Elections office or the polls would subject them to

unreasonable health risks because of their age or underlying health conditions, even

if conditions improve enough for healthier Floridians to return to more normal

activities.

       106. Others, including thousands of students at Florida colleges and

Universities such as Plaintiff Williams, have been sent away from their homes, with

no indication when they will be able to return.

       107. Organizational Plaintiffs Dream Defenders, New Florida Majority,

Zebra Coalition, and Organize Florida all have members or serve communities who

are similarly situated to these individual Plaintiffs.

       108. Without accommodations such as extending early voting days, hours,

and locations and curbside voting which would allow them to vote while maintaining

necessary social distancing, or expanded availability of supervised voting which

would allow them to vote without leaving their residences, in-person voting is likely

to be unavailable or unreasonably risky for these voters.

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      109. Moreover, they face unnecessary and severe obstacles to their only

alternative means of exercising their right to vote this year: voting by mail.

      110. Requiring voters who are displaced or have unreliable access to mail to

submit a written and signed request—which can only be done in person or by mail—

in order to have their ballot sent to where they are living or where they can receive

mail is unduly burdensome and unjustified in circumstances where request forms are

more difficult to access, postal service is less available, and unnecessary in-person

visits to SOE’s offices are ill-advised even for healthy voters let alone voters who

face serious health consequences from exposure to COVID-19.

      111. In rapidly changing circumstances such as those seen during the PPP

and likely to be seen again through much of the rest of the year, Florida’s emergency

VBM process is unduly stringent. Requiring voters facing risks from COVID-19 to

appear on election day to request a VBM ballot when the emergency circumstances

are there for all to see in the days before the election and limiting the number of

ballots designees can obtain for other voters will result in larger numbers of voters

and designees appearing at SOEs offices on election day, which will violate social

distancing guidelines and overwhelm the reduced staffing SOEs are currently

working with.

      112. Additionally, limiting the number of voters for whom a non-family

member may pick up ballots, will prevent many voters from obtaining ballots at all,

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particularly vulnerable voters such as Plaintiffs Heller, Romero, and Hernandez

Morales who depend on assistance from others to avoid unnecessary social contact

that could threaten their health.

      113. And the failure of the Defendants to offer an accessible means of voting

by mail to voters with disabilities likewise constitutes a severe burden on the right to

vote, because for many such voters, it means they won’t be able to vote at all.

      114. The ballot return deadline, depending as it does on the vicissitudes of

postal delivery in a time where all public services are stretched instead of a clear

criteria such as a postmark, has resulted and will likely continue to result in the

rejection of many mail ballots even though they were promptly returned.

      115. Likewise, the very short cure period, the incomplete cure instructions,

limited cure opportunities, and the arbitrary signature verification process when mail

is moving slowly—likely too slowly for voters to meet the cure deadline even when

they act immediately after being notified of a deficiency—and when voters are unable

to deliver cure affidavits in person without risk to their health constitutes an undue

burden on the right to vote in the circumstances the country is currently facing, and

is unjustified by any legitimate election administration purpose.

      116. Defendants’ failure and refusal to make adjustments to these voter

registration and in person and vote-by-mail rules will likely deprive thousands of

Floridians, including Plaintiffs, their members, and members of their communities of

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the opportunity to vote in the remaining 2020 elections, in violation of their rights

under the First and Fourteenth Amendments.

      117. Under these circumstances, the State Defendants’ and SOEs’

enforcement of vote-by-mail request requirements and delivery deadlines, as well as

restrictions on emergency voting, and curing signature deficiencies, and its failure to

accommodate voters who are particularly vulnerable to COVID-19 by offering

curbside voting, additional early voting and supervised voting, accessible vote-by-

mail ballots, ballots in voters’ preferred languages, and greater access to online voter

registration constitute a severe and undue burden on the right to vote.

      118. Defendants have no sufficient justification for their refusal to make

changes to Florida’s vote-by-mail rules to accommodate the significant challenges

voters face as a result of the COVID-19 crisis.

                                 COUNT TWO
                            Against All Defendants
          Abridging or Denying the Right to Vote on Account of Race
              in Violation of § 2 of the Voting Rights Act of 1965
                               (52 U.S.C. § 10301)
      119. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.

      120. Section 2 of the Voting Rights Act provides in pertinent part:

      No voting qualification or prerequisite to voting or standard, practice, or
      procedure shall be imposed or applied by any State or political subdivision
      in a manner which results in a denial or abridgement of the right of any
      citizen of the United States to vote on account of race or color . . . .
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52 U.S.C. § 10301(a).
      121. Florida’s current voter registration and vote by mail process has had

and—if this Court does not institute the remedies that Plaintiffs request—will

continue to have, an adverse and disparate impact on communities of color. These

measures impose a discriminatory burden on African American and Latinx voters

and they “have less opportunity than other members of the electorate to participate in

the political process.”

      122.    Regarding vote by mail, communities of color experience higher levels

of ballot rejections. Because of Florida’s vague and unreasonably short mail ballot

return deadline, and because of the state’s restrictive cure requirements as well as the

discretion of Defendant SOEs and county canvassing boards to arbitrarily reject

voter’s signatures, the VBM ballots cast by Black, Hispanic, and other racial and

ethnic minorities were more than twice as likely to be rejected as VBM ballots cast

by white absentee mail voters in 2018, and with the increased barriers voters face in

complying with these strict requirements due to the coronavirus pandemic, these

disparities are likely to be aggravated.

      123. Moreover, the lack of voter registration opportunities due to the declared

state of emergency prevents Floridians from registering to vote and prevents

organizational plaintiffs from registering persons to vote.       The closures of all

nonessential entities, including the Department of Motor Vehicles and the Defendant


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SOEs’ offices make it burdensome and nearly impossible for organizations such as

organizational Plaintiffs to conduct third-party voter registration drives, which large

numbers of voters of color.

         124. Additionally, the OVR system is unduly burdensome to voters who lack

printers or the requisite voter identification to register online—disproportionately

Black and Latinx voters.

         125. This burden is connected to historical and social conditions of

discrimination. Under the totality of circumstances, Florida’s African American and

Latinx voters have had and will continue to experience less of an opportunity to

participate in the electoral process due to Defendants failure to adequately address

the impact on the right to vote from the spread of COVID-19, the inability to register

to vote, and the disproportionate rejection rate of VBM ballots from communities of

color.

         126. These disparities constitute a violation of § 2 of the Voting Rights Act.

Unless enjoined by this Court, Defendants will continue to violate Section 2 of the

Voting Rights Act, by enforcing standards, practices, or procedures that deny African

American and Latinx the opportunity to participate effectively in the political process

on an equal basis with other members of the electorate.

                                 COUNT THREE
                               Against All Defendants
                  Failure to Provide Reasonable Accommodations

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          in Violation of Title II of the Americans with Disabilities Act
                           (42 U.S.C. §§ 12131, et seq.)

       127. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.

       128. Under Title II of the Americans with Disabilities Act, state and local

governments must not impose requirements on participation in public services,

programs, or activities, including voting, that screen out individuals with disabilities

from fully and equally enjoying those programs and must make reasonable

modifications in policies, practices, or procedures, including voting and election

procedures, when the modifications are necessary to avoid discrimination on the basis

of disability.

       129. Individuals who suffer a significant medical vulnerability that places

them at extremely high risk of serious bodily injury or death should they leave the

confines of their homes—including Plaintiffs Hernandez Morales and Romero whose

health conditions puts them at significant risk of severe illness or death should they

contract COVID19—have a disability within the meaning of the ADA.

       130. Plaintiff Young is blind and has a disability within the meaning of the

ADA.

       131. Defendants’ failure and refusal to extend the vote-by-mail deadlines;

expand availability of emergency vote-by mail procedures; expand the methods for

requesting, obtaining, and returning vote-by-mail ballots; and adopt safe and

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accessible methods of in-person voting constitute a failure to make a reasonable

accommodation for those, such as Plaintiffs Heller, Romero, and Hernandez Morales,

whose health and age limit their ability to have contact with others in this time of

public health emergency created by COVID-19.

      132. Defendants’ failure to offer VBM ballots in a form that is accessible to

blind or low-vision voters or voters with manual impairments limiting their ability to

mark a paper ballot, despite requirements in Florida law mandating that they do so

and when the necessary technology is readily available, likewise constitutes a failure

to make a reasonable accommodation for voters such as Plaintiffs Young and

Romero, who need such accommodations in order to independently and

confidentially cast a VBM ballot.

      133. The failure to accommodate these voters constitute a condition on access

to the ballot box that has the effect of screening out such individuals from

participating in the August 18, 2020, Primary Election and the November 3, 2020,

General Election, in violation of Title II of the Americans with Disabilities Act.

                                 COUNT FOUR
                             Against All Defendants
                Failure to Provide Reasonable Accommodations
              in Violation of Section 504 of the Rehabilitation Act
                                (29 U.S.C. § 794)

      134. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.


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       135. Under Section 504 of the Rehabilitation Act, federally funded programs,

including state and local programs related to elections and voting, must not

discriminate against individuals with disabilities and must make reasonable

accommodations to allow individuals with disabilities to access the federal funded

program, activity, or service.

       136. Individuals who suffer a significant medical vulnerability that places

them at extremely high risk of serious bodily injury or death should they leave the

confines of their homes—including Plaintiffs Hernandez Morales and Romero whose

health conditions puts them at significant risk of severe illness or death should they

contract COVID19—have a disability within the meaning of the ADA.

       137. Plaintiff Young is blind and has a disability within the meaning of the

ADA.

       138. Defendants’ failure and refusal to extend the vote-by-mail deadlines;

expand availability of emergency vote-by mail procedures; expand the methods for

requesting, obtaining, and returning vote-by-mail ballots; and adopt safe and

accessible methods of in-person voting constitute a failure to make a reasonable

accommodation for those, such as Plaintiffs Heller, Romero, and Hernandez Morales,

whose health and age limit their ability to have contact with others in this time of

public health emergency created by COVID-19.




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      139. Defendants’ failure to offer VBM ballots in a form that is accessible to

blind or low-vision voters or voters with manual impairments limiting their ability to

mark a paper ballot, despite requirements in Florida law mandating that they do so

and when the necessary technology is readily available, likewise constitutes a failure

to make a reasonable accommodation for voters such as Plaintiffs Young and

Romero, who need such accommodations in order to independently and

confidentially cast a VBM ballot.

      140. The failure to accommodate these voters constitute a condition on access

to the ballot box that has the effect of screening out such individuals from

participating in the August 18, 2020, Primary Election and the November 3, 2020,

General Election, in violation of Section 504 of the Rehabilitation Act.

                                COUNT FIVE
                          Against the All Defendants
    Failure to Provide Spanish-language Voting Materials and Assistance
         in Violation of Section 203 of the Voting Rights Act of 1965
                              (52 U.S.C. § 10503)
      141. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.

      142. The state of Florida became a covered jurisdiction under Section 203 of

the Voting Rights Act on October 13, 2011 for Hispanic minority group, Spanish

language.




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      143. Section 203 requires covered states or political subdivisions to provide

any registration or voting notices, forms, instructions, assistance, or other materials

or information relating to the electoral process, including ballots ... in the language

of the applicable minority group as well as in the English language. 52 U.S.C. §

10503(c). The Defendants’ failure to provide VBM ballots, related instructions and

documents to request, mark, return, and cure VBM ballots and other electoral

materials in Spanish-language as provided to English-language voters contravenes

the law which requires Spanish-language dominant voters receive materials and

assistance needed to make an informed vote.

      144. Plaintiffs Romero and Hernandez Morales are Spanish-language

dominant voters requiring language assistance and materials in order to cast an

informed vote.

      145. Defendants’ failure to offer Spanish-language VBM ballots statewide to

Spanish-dominant voters despite requirements mandating that they do so constitutes

a failure to provide materials necessary for voters such as Plaintiffs Romero and

Hernandez Morales, who need Spanish-language ballots, related materials and

assistance in order to independently and confidentially cast a VBM ballot.




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                                  COUNT SIX
                         Against the County Defendants
                    Denial of Procedural Due Process Clause
                   (U.S. Const. Amend. XIV, 42 U.S.C. § 1983)

      146. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint and the paragraphs in the counts below as though fully set forth herein.

      147. The Due Process Clause of the United States Constitution prohibits the

states from depriving “any person of . . . liberty . . . without due process of law.” U.S.

Const. amend. XIV, § 1. The right to vote is the most fundamental liberty guaranteed

by the Constitution, and eligible citizens cannot be deprived of that right without due

process. At a minimum, due process requires that, before depriving a citizen of the

right to vote, Florida must provide adequate notice that the right is in jeopardy and a

meaningful opportunity for the individual to be heard.

      148. Florida’s creation of an absentee voting scheme requires the state to

administer that scheme in accordance with the Constitution, including the protections

of procedural due process. Having extended the right to vote by mail to its citizens,

the state may not impose procedures and conditions on the exercise of that right that

can and do result in deprivation of the right to vote without due process.

      149. Florida’s vote-by-mail scheme deprives many voters of their right to

vote with neither adequate notice nor a meaningful opportunity to be heard. Under

Florida’s statutory scheme for counting VBM ballots, the state’s sixty-seven SOEs

and County Canvassing Boards are required to count only VBM ballots received by
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mid-day on Election Day. If the SOE or Canvassing Board finds any potential

inaccuracy, mismatch in signature, or missing necessary information, the ballot will

be rejected unless the voter cures the defect in the very short cure period of only two

weekdays following Election Day.

      150. The Election Day deadline for receipt (as opposed to post-mark or

signature date deadline) of voted VBM ballots already makes it difficult or

impossible for voters to know when they must mail their ballot to get it in on-time to

be counted. This situation is even more acute because mail is moving at an

unprecedentedly slow rate due to COVID-19. And although returning a ballot in

person on or before Election Day (even assuming the SOEs’ offices are open and

sufficiently staffed) will avoid this uncertainty, the COVID-19 crisis means high risk

voters will be forced to choose between risking their health or risking that their ballot

is not received on time.

      151. Likewise, the cure process’s lack of adequate notice and the limited,

arbitrary, inaccessible, and often non-existent opportunity to be heard constitute a

violation of Due Process in the circumstances the country is currently facing. Coupled

with Florida’s haphazard procedure for notifying voters of defects in their VBM

ballots and the often extremely short period for curing the defect after notice is

attempted, the impact of COVID-19 on mail delivery times and on the ability of

voters to return ballots in person means voters will not be made aware of ballot

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deficiencies within the time period allowed under Florida law to correct those

deficiencies and have their ballot be counted—or at all.

      152. Furthermore, the very short cure period, the incomplete cure

instructions, limited cure opportunities, the arbitrary signature verification process,

and voters’ inability to deliver cure affidavits in person without risk to their health,

will fail to provide voters with the requisite opportunity to be heard prior to being

permanently deprived of their right to vote in the upcoming elections.

      153. The signature and ballot verification process is entirely arbitrary. The

members of the Defendant Canvassing Boards and staff of the Defendant SOEs who

are responsible for verifying signatures are not required to undergo any training in

handwriting analysis or signature verification, creating a likelihood that the signature

match process will erroneously flag lawful ballots and threaten the votes of eligible

voters who are subjected the cure process.

      154. Once a ballot is flagged as deficient in some way through this arbitrary

process, voters must be notified. Since not every voter has an email address or

telephone number on file with the SOE, the voter is notified by mail which means

that voters may receive notice of the deficiency only after the cure period has expired.

Those voters who are notified of a deficiency in their vote-by-mail ballots by

telephone or email must have access to the internet to seek out and download the cure

affidavit and instructions. They must also have access to a printer to print the cure

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affidavit. If they are able to do those things, they then must complete, sign and return

the affidavit. Like mail ballots, cure affidavits are subject to a receipt deadline rather

than a postmark deadline. If the voter’s cure affidavit is not received by 5pm on the

second day after the election, the voter’s ballot is rejected.

      155. Voters who have access to a scanner or fax machine may be able to

return the affidavit by email or fax, but many voters do not have such resources

available, particularly when they are sheltering at home during the COVID-19

pandemic. Such voters—who may have received notice on the same day as the cure

deadline—must return the affidavit by mail, requiring them to pay postage and risk

that the affidavit is received after the deadline, or must risk their health or the health

of their family during the COVID-19 crisis to return the affidavit in person.

      156. When a cure affidavit is submitted, it is subject to an additional

verification process. If the Defendant Canvassing Board or SOE determines that the

affidavit is insufficient—again through an arbitrary signature matching process

carried out in many cases by untrained personnel—the voter is given no further

opportunity to document their identity and have their ballots counted. Moreover, the

cure instructions fail to notify voters that only some of the forms of identification that

may be provided with the cure affidavit will be accepted and allow the ballot to be

counted if the County Defendants conclude that the signature on the cure affidavit

again does not match.

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      157. Given the arbitrary and unpredictable nature of the signature match

process and the corresponding likelihood that individuals who legitimately cast their

vote-by-mail ballots will need to cure but will be unable to do so within the time-

frame allotted under Florida law, the County Defendants are likely to erroneously

deprive legitimate and lawful voters of an opportunity to cast a completed ballot and

have it counted without providing them with the requisite opportunity to be heard.

      158. The County Defendants’ enforcement of Florida’s vote-by-mail

deadline, signature match verification process, and cure process are fundamentally

unfair and violate the Due Process Clause of the Constitution under the circumstances

caused by the COVID-19 pandemic They leave the electorate with insufficient

information to know whether their ballot was counted and how to cure mistakes, and

insufficient opportunities to cure those mistakes once identified. The scheme operates

to the particular disadvantage of voters of color, disabled voters, LEP voters, and

low-income voters, who are less likely to have the equipment necessary to return their

cure affidavits to the SOE in a safe and timely manner.

      159. The VBM ballots receipt deadline deprives Florida voters of their right

to vote without due process of law because it provides insufficient notice of when

voters must deliver their ballots to the postal service to have them counted. This

violation is aggravated in a time when postal delivery times are even more

unpredictable.

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       160. The signature verification process deprives voters of their right to vote

without due process because it subjects voters to a cure process based on an arbitrary

and error-prone procedure often carried out by staff of the County Defendants who

are not qualified to perform the required signature matching.

       161. The two-day deadline for voters to cure deficiencies with their VBM

ballots deprives them of the right to vote without due process because it prevents

many voters from receiving notice prior to having their ballots rejected, and because

it prevents many voters from being able to return their cure affidavits prior to the

deadline, depriving them of any opportunity to be heard before having their ballot

rejected.

       162. Finally, the cure process deprives voters of their right to vote without

due process because the cure instructions fail to notify voters of what forms of

identification will suffice to establish their identity if the affidavit signature does not

match voter registration records, and because there is no further notice or opportunity

to verify the voter’s identity if the cure affidavit is rejected.

       163. Additional or substitute procedural safeguards to ensure that Florida’s

vote by mail system does not erroneously deprive voters, particularly low-income,

voters of color, disabled voters and LEP voters, of an opportunity to cast a completed

ballot are available and would impose no burden on the County Defendants. The

state’s sixty-seven SOEs and County Canvassing Boards are not required to finalize

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election results for twelve days after the general election—a deadline that can be

extended by Defendant Elections Canvassing Commission in emergency

circumstances, see Fla. Stat. Ann. § 102.112. Counting ballots postmarked or dated

by the postmark and received within 10 days would not interfere with this deadline.

Indeed, such a deadline already applies to the ballots of UOCAVA voters in Florida.

Likewise, extending the cure deadline would not interfere with the relevant

canvassing deadline, particularly if that deadline were extended to address the

emergency circumstances created by the COVID-19 pandemic and the significantly

higher volume of mail ballots it is expected to cause. Requiring County Defendants

to use more robust VBM ballot verification procedures would not substantially slow

the counting of ballots and can readily be achieved with additional training and the

use of objective criteria, and updating the cure instructions to completely and

accurately notify voters of the requirements for a cure and the differential treatment

of the different forms of acceptable identification in various circumstances would be

trivial. Finally, notifying voters whose cure affidavits have been rejected, particularly

those that could be cured with an alternate form of identification, that their ballots

will not be counted is feasible and not burdensome.

      164. The VBM scheme operated by the County Defendants operates to

deprive or threatens to deprive many Floridians, including the individual Plaintiffs

and the members and communities served by organizational Plaintiffs, of their

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Constitutionally protected right to vote without due process of law, in violation of the

Due Process Clause of the 14th Amendment.

                              REQUEST FOR RELIEF

Wherefore, Plaintiffs respectfully request this Court enter judgment:

      a.     Preliminarily and permanently enjoining Defendants to undertake

             emergency actions with respect to any election in the state affected by

             the COVID-19 pandemic;

      b.     Ordering Defendants to implement measures to ensure eligible

             Floridians are able to register to vote, including:

             i. conducting outreach to unregistered and inactive voters offering the

                opportunity to register to vote or update their voter registrations

                prior to the voter registration deadlines for the August 18, 2020, and

                November 3, 2020, elections;

             ii. ensuring Florida’s online voter registration system has sufficient

                capacity to accommodate the increased number of voters who will

                need to register to vote or update their voter registrations through

                the system;

            iii. allowing voters who lack a Florida driver’s license or identification

                card to register to vote online using solely the last four digits of their

                social security number;


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      iv. notifying voters of errors with their online voter registration

           applications without requiring them to print and mail a paper voter

           registration application;

 c.    Ordering Defendants to modify vote-by-mail procedures to ensure they

       are available and accessible to all registered voters, including by:

        i. Permitting voters to have their ballot sent to an alternate address to

           the one on file with the SOE without requiring the request to be

           signed and in writing, or, alternatively, sending a postage pre-paid

           vote-by-mail request form to all currently registered voters;

       ii. ensuring that every voter is mailed a ballot in accordance with their

           language preferences and providing language assistance, as required

           by the Voting Rights Act;

      iii. ensuring vote-by-mail ballots are available in formats that are

           accessible to voters with disabilities without requiring assistance

           from another person;

      iv. accepting returned vote-by-mail ballots and counting them as long

           as they are postmarked or dated by Election Day and received within

           ten days of Election Day, and

       v. expanding the number and locations of drop-boxes, and accept

           ballots returned to a drop-box no later than Election Day;

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       vi. allowing voters to utilize the emergency vote by mail ballot

           procedures in the nine days before election day and suspending the

           documentation requirements for establishing an emergency,

           including county-level requirements;

      vii. suspending limits on the number of ballots that may be obtained and

           the manner of their return by non-family members authorized by

           voters to obtain and return their mail ballots;

      viii. extending the vote-by-mail “cure” period for ballots with missing or

           mismatched signatures, and ensuring signature matching and cure

           procedures and instructions are clear, objective, reliable, accessible,

           and non-discriminatory;

 d.     Ordering Defendants to ensure in person voting is safe and accessible,

        including by

        i. expanding the days, hours, and locations of early voting;

       ii. establishing curb-side voting at each polling location;

       iii. expanding availability of “supervised voting;”

       iv. ensuring CDC guidelines for reducing the risk of COVID-19

           exposure are followed;




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      e.    Ordering Defendants to ensure that all voter registration forms, vote-by-

            mail request forms, vote-by-mail return envelopes, and cure affidavits

            can be sent postage pre-paid;

      f.    Ordering Defendants to provide all the above materials and information

            in Spanish-language;

      g.    Ordering Defendants to publicize, in English, Spanish, and other

            languages spoken by a substantial number of Florida voters, the changes

            to voting and vote-by-mail procedures;

      h.    Awarding Plaintiffs their costs, expenses, and reasonable attorneys’ fees

            pursuant to, inter alia, 42 U.S.C. 1983 and other applicable laws; and

      i.    Granting such other relief as the Court deems just and proper.

Respectfully submitted,

Dated: April 20, 2020                       s/ Stuart C. Naifeh

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*Admitted pro hac vice
**Application for admission pro hac vice forthcoming




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